

















	

					

IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





			

AP-76,308 &amp; AP-76,309






EX PARTE NAVID OCHEGHAZ GHAHREMANI, Applicant









Applications for Writs of Habeas Corpus from

Cases 1030953-A and 1030954-A of the

179th Judicial District Court of Harris County





	Womack, J., delivered the opinion for a unanimous Court.



	These are post-conviction applications for writs of habeas corpus under Article 11.07 of
the Code of Criminal Procedure. The applicant alleges that the State knowingly used false
testimony at his trial, in violation of his Fourteenth Amendment right to due process. We agree
with the convicting court's recommendation to grant relief.

I. Background

A. Factual Background and Trial

	The applicant, then 22 years old, began an online relationship with L.S., then 13 years
old, in January 2004. The applicant professed his love and sexual desire for L.S., who said that,
although she was a virgin, she wanted to have sex with the applicant. The applicant and L.S. met
in person on January 30. The applicant picked up L.S. and her friend J.R.(a 14-year-old girl) from
the middle school they attended. He drove the girls to his apartment, where they all consumed
alcohol and took Xanax pills. Eventually, the applicant led L.S. to his bedroom where she
immediately fell asleep on the bed. J.R. fell asleep on the couch in the living room.

	At trial, in July 2006, each girl recounted waking up at some point in the night with her
pants and underwear removed and the applicant engaged in vaginal intercourse with her. Each
girl said that she was heavily intoxicated, went back to sleep almost immediately, and did not
remember many details. When she awoke the next morning, L.S. asked the applicant if they had
had sex, and he confirmed that they had. He told J.R. that she and he had "messed around."

	The applicant took the girls, who were still under the effects of Xanax and alcohol, to
their middle school. Witnesses described the girls' behavior and physical condition on that day.

	L.S.'s mother, Michelle, testified that L.S. had undergone extensive and continuing
psychiatric treatment since the night at the applicant's apartment. Michelle testified that L.S. had
been repeatedly committed to intensive treatment facilities because of continuing behavior
problems, including a drug overdose. After the State rested, the applicant presented no evidence,
and the jury found him guilty of the sexual assault of J.R. and the aggravated sexual assault of
L.S. (1) 

	During the punishment phase, L.S.'s father, William, testified that after the assault, L.S.
was "crying, sobbing, seemingly numb, seemingly somewhat in shock." He "immediately"
noticed changes in L.S.'s behavior; she became withdrawn and ceased being an outgoing person.
After "a few months," L.S. left her school because she was being taunted by her classmates. L.S.
transferred to a different school, and spent a week in a psychiatric hospital. William testified that
L.S.'s therapist suggested that L.S. be sent away for intensive treatment at boarding schools, and,
though he first resisted this suggestion,"eventually [he and his wife] found out that the therapist
was right."  Though William's testimony gave no details of the specific timeline of L.S.'s
treatments, he said that L.S. was sent away for "ten to eleven months," first to treatment at a
"wilderness school," then to a boarding school, then back to the "wilderness school." William
estimated that the treatment had cost around $140,000, with insurance covering only $5,500.
William suggested that 25 years would be an appropriate sentence for the applicant. 

	J.R.'s father then testified about the ways that J.R.'s behavior had changed since the
applicant's assault. The defense did not present any punishment evidence. The State asked for
"something in the thirty to forty-year range when determining the punishment in this case." The
jury assessed the maximum punishment, 20 years, for the sexual assault of J.R., and 28 years for
the aggravated sexual assault of L.S. The convictions and sentences were affirmed on appeal. (2)

B. Habeas Proceedings

1. The July Police Report

	Through a Public Information Act (3) request, the applicant's habeas attorney secured the
district attorney's file on these cases. In the file was a folder labeled "Work Product," which
contained a police report. 

	The reporting officer detailed being dispatched to L.S.'s home on July 27, 2005. L.S. and
her parents were having an argument because one of L.S.'s coworkers had told William that L.S.,
then 15 years old, was having a relationship with a 25-year-old man, Davis. (4) William told the
police officer that L.S. had confessed to him that the relationship was sexual. When the officer
spoke with L.S. alone, L.S. said that she had met Davis in September 2004, started having sex
with him that month, and since then had been having sex with him every one or two weeks.
According to the report, L.S. "stated that [Davis] treated her nicely but he did deal a large amount
of drugs, sometimes in front of her."

	The police report also detailed later attempts to contact L.S. and her family, concluding
with a September 2, 2005 entry noting that Michelle had informed the officer that L.S. had been
sent away to a wilderness boot camp for rehabilitation. The report concludes: "Case will
exceptionally cleared/closed [sic] for lack of information of the [complainant]." 

	Also contained in the "Work Product" folder were emails showing that Jamie Harris, the
assistant district attorney then prosecuting the case, knew of the July 27 incident on July 29. The
copy of the police report contained in the "Work Product" folder was printed on November 16,
2005.

2. Habeas Hearing

	The applicant applied for writs of habeas corpus, arguing that the State unconstitutionally
suppressed the July police report (5) and presented false testimony in violation of the Fourteenth
Amendment. The applicant argues that the State gave the jury the misleading impression that all of
L.S.'s psychological treatment was the result of the applicant's assault, but that the relationship
between L.S. and Davis could have been partly responsible for L.S.'s need for treatment.

	The convicting court held a fact-finding hearing on October 1, 2009. (6)  Former children's
court advocate Patty Smith testified that in 2005 she spoke with William and Michelle about L.S.'s
relationship with Davis. Smith knew then that L.S. was not sent away from home for therapy until
sometime after the July 27 incident. Smith had told Harris about Davis and about her suspicions that
L.S. was selling drugs and may have been initiated into a gang. Smith stated her belief, based in part
on conversations with William and Michelle, that the drugs, gang initiation, and relationship with
Davis were the result of the trauma caused by the applicant's assault. Smith did not believe that the
Davis relationship was a "traumatic" experience for L.S.

	Dorian Cotlar, the lead prosecutor during the trial, testified that the July police report was in
the "Work Product" folder when he took over the case from Harris. Cotlar read the report and
determined that it was irrelevant to the applicant's case. The only additional investigation he
performed into the matter was to run a criminal background search on Davis; Cotlar said he could
not remember whether the search turned up anything, but he did not think it did. Cotlar said that he
was not aware of Davis being prosecuted for any offense related to L.S. He speculated that the
"cleared/closed for lack of information of the [complainant]" notation means that the case was never
shown to a prosecutor.

	Cotlar cast doubt on whether L.S. had actually had sex with Davis, pointing out that L.S.'s
statement came during "a heated argument" with her parents. Cotlar said that after being assaulted
by the applicant, L.S. "lied to her parents about a lot of things."  When asked whether he intended
to leave the jury with the impression that the applicant was the sole cause of L.S.'s psychological
problems, Cotlar responded: "I don't know. I suppose. I don't know." 

	Cotlar speculated that giving the jury evidence of the Davis relationship would have been
harmful to the applicant because he considered the relationship a symptom of the psychological harm
caused by the applicant's assault. Cotlar explained that he did not introduce the evidence at trial
because he did not believe he needed it to get the verdict and punishment he wanted, and introducing
the evidence would have unnecessarily exposed more of L.S.'s private life.

	John Parras, the applicant's attorney during the trial, testified that at the time of trial he was
unaware of L.S.'s relationship with Davis and the allegations of drug use and gang membership.
After his testimony, the court ordered the parties to present arguments on this application at a later
date, and then recessed.

3. The August Police Reports

	While preparing for arguments, Alycia Harvey, the prosecutor handling this writ application,
looked up two police report numbers listed as "Related Cases" on the July police report. According
to these new-found reports, written throughout the month of August, 2005, L.S. ran away from home
on July 31, 2005 -- four days after the incident described in the July police report. William and
Michelle told police that they believed L.S. was with Davis. 

	The police were not able to find Davis, but did find his mother. In the presence of the
reporting officer, Davis's mother called Davis, who said that he did not know where L.S. was, and
that L.S. had represented herself as being 17 years old. Going to Davis's supposed address and
tracking down his supposed car produced no information regarding L.S.'s location. 

	L.S. called home in the early afternoon of August 3 and said that she was waiting in a Wal-Mart parking lot and was ready to come home. Michelle called the police, who then met Michelle
at the Wal-Mart where L.S. was waiting. The officer "could tell by [L.S.'s] actions and her eyes that
she was on some kind of drugs." L.S. told the officer that she was on "zan-bars [benzodiazepine],
ex ['ecstasy,' an amphetamine], coke [cocaine], dust [phencyclidine], and possibly other drugs." L.S.
said that she could not recall whether she had had sexual relations with anyone. An ambulance took
L.S. to a hospital to have a rape test performed.

	Appended to the August police reports is a laboratory report from the Harris County Medical
Examiner's office stating that vaginal swabs performed on L.S. on August 3, 2005 tested positive
for blood and semen. The laboratory report is dated July 31, 2006. 

	The copy of these police reports contained in the record shows that they were printed on
October 6, 2009. Harvey turned the August police reports over to the convicting court, which then
ordered the State to turn them over to the applicant. 

4. The Convicting Court's Findings of Fact and Conclusions of Law

	After the parties presented arguments, the convicting court largely adopted the applicant's
proposed findings of fact and conclusions of law. The convicting court found that the July police
report was material to the case, favorable to the applicant, and suppressed by the State in violation
of Brady. The convicting court found that the State elicited testimony that falsely conveyed the
impression that all of L.S.'s psychological treatment was made necessary by the applicant's assault.
The convicting court concluded that

	[t]he prosecution's suppression of this evidence and presentation of testimony
creating the misleading impression that applicant was solely to blame for L.S.'s
physical, emotional, and psychological problems undermine confidence in the
sentences. 


	The convicting court recommended that we grant the applicant a new punishment hearing.
We ordered that the case be filed and set in order to determine whether the State violated Brady, and,
if so, whether the result of the trial would have been different had the State disclosed the suppressed
evidence.II. Analysis

A. The Applicant's Ground for Relief

	The applicant presents us with a single ground for relief, asserting that the State failed to
disclose favorable evidence and "presented [L.S.'s] parents' misleading testimony creating the false
impression that her physical, emotional, and psychological problems resulted solely from her sexual
encounter with applicant."

	False-testimony claims and suppressed-evidence claims are legally discrete. (7) In this case, the
suppressed evidence was not inherently exculpatory, nor would it have generally impeached the
credibility of any of the State's witnesses. The July police report would have aided the applicant only
by showing that specific testimony from Michelle and William was misleading. The applicant has
not argued that the July police report was relevant for any other purpose.

	The essence of the applicant's claim, then, is that the State knowingly presented false
testimony; the police report is merely evidence that the testimony was false (and that the State knew
it was false). Both the State and the applicant have presented arguments regarding both the Brady
and false-testimony claims. The convicting court made findings of fact addressing both claims, and
its recommendation for relief was based on both claims combined. Because we believe that the false-testimony claim is the underlying issue here, we will address this matter as a false-testimony claim. (8)B. Use of False Testimony

1. False Testimony

	A conviction procured through the use of false testimony is a denial of the due process
guaranteed by the Federal Constitution. (9) The use of false testimony at the punishment phase is also
a due-process violation. (10) A due-process violation may arise not only through false testimony
specifically elicited by the State, but also by the State's failure to correct testimony it knows to be
false. (11) "It does not matter whether the prosecutor actually knows that the evidence is false; it is
enough that he or she should have recognized the misleading nature of the evidence." (12)

	Though the case law in this area frequently refers to "perjured" testimony, there is no
requirement that the offending testimony be criminally perjurious. (13) "It is sufficient if the witness's
testimony gives the trier of fact a false impression." (14) These rules are not aimed at preventing the
crime of perjury -- which is punishable in its own right (15) -- but are designed to ensure that the
defendant is convicted and sentenced on truthful testimony.

2. The State's Knowledge

	To constitute a violation of due process under Federal precedent, the State must knowingly
use false testimony. (16) This Court allows applicants to prevail on due-process claims when the State
has unknowingly used false testimony. (17) Even under this expanded notion of due process, however,
the State's knowledge is still a relevant factor to determine the standard we use for reviewing an
applicant's habeas claim.

3. Materiality

	The knowing use of false testimony violates due process when there is a "reasonable
likelihood" that the false testimony affected the outcome. (18) We have characterized this as a
requirement that the false testimony must  have been material. (19) This standard is more stringent (i.e.,
more likely to result in a finding of error) than the standard applied to Brady claims of suppressed
evidence, which requires the defendant to show a "reasonable probability" that the suppression of
evidence affected the outcome. (20) The "reasonable likelihood" standard is equivalent to the standard
for constitutional error, which "requir[es] the beneficiary of a constitutional error to prove beyond
a reasonable doubt that the error complained of did not contribute to the verdict obtained." (21)

C. Application to This Case

	In an 11.07 writ proceeding, this Court is the ultimate factfinder. (22) The convicting court is
the original factfinder, and we will generally defer to and accept that court's findings of fact and
conclusions of law when they are supported by the record. (23)

1. Was the Testimony False?

	Michelle testified that the "biggest problem" with L.S.'s behavior after the applicant's assault
was that she always felt dirty and took two showers a day. (24) Michelle said that L.S. gained weight,
required therapy, and "wasn't the same socially." The State then asked whether there was "anything
else specifically that you've noticed different about [L.S.] since January 31st of 2004 that we haven't
talked about." Michelle said there was not. She mentioned only one intervening event between the
applicant's assault and L.S.'s intensive therapy: a drug overdose, about which she gave no details.
William testified that after the applicant's assault, he and Michelle "eventually  found out" that
L.S.'s original therapy was not helping and that she needed more intensive therapy, such as the
wilderness camp and boarding school. He gave no information regarding intervening events.

	The habeas record shows that Michelle and William sent L.S. away for intensive therapy
nineteen months after the applicant's assault. In that time, L.S. had a job at a restaurant and (she said)
engaged in a long-term, intimate relationship with a 25-year-old drug dealer. Members of the
prosecution team also believed that during this time L.S. was selling drugs and was initiated into a
gang. Shortly after Michelle and William learned all this, L.S. ran away from home for three days.
She came home on drugs and with evidence of sexual assault still inside her vagina, though she did
not remember who assaulted her. Only after these events was L.S. sent away for the intensive therapy
that Michelle and William described in their testimony.

	The State argues that this testimony did not create a misleading impression, because the
behavior problems detailed in the July and August police reports were themselves the result of the
psychological trauma L.S. suffered from the applicant's assault. The State cites cases in which 
mental-health professionals testified that promiscuity and drug use are symptoms of sexual assault, (25)
and to a fact sheet from the Children's Assessment Center stating that promiscuity is a symptom
displayed by 38% of child sexual assault victims. 

	The convicting court did not accept this argument, and we shall defer to that determination
if there is support for it in the record. The convicting court found that the gap in the evidence
presented to the jury was so significant that Michelle and William's testimony "creat[ed] a
misleading impression of the facts." Based on the gravity of the events that were left out of their
testimony, the fact that the testimony glossed over the lengthy period of time between the applicant's
assault and L.S.'s intensive therapy, and the fact that the testimony attributed all of L.S.'s
psychological treatment to harm done by the applicant, we believe there is support in the record for
the convicting court's finding.

2. Did the State Know the Testimony was False?

	The convicting court found that the State had knowledge of the July police report, and that
the State was aware that L.S. was sent away for intensive therapy only after her parents learned of
the Davis relationship. The State does not contest these findings, and they are supported by the
record.

	There are no findings of fact related to the August police reports, nor is there any testimony
from the habeas hearing regarding them. The record could support a finding that the State should
have known of the incident detailed in the August police reports, (26) but the habeas court did not
consider the issue. The habeas court's recommendation is supported by its findings that the
knowledge of the July police report and the timing of L.S.'s intensive therapy was sufficient to alert
the State that the testimony from Michelle and William was misleading.

3. Was the False Testimony Material?

	The convicting court found that the misleading testimony "undermine[s] confidence in the
sentences," a materiality standard it derived from United States v. Bagley (27) and Kyles v. Whitley. (28)
This is the materiality standard for Brady claims, which is less likely to find error than the standard
applicable to false testimony claims. If the convicting court found that the applicant met the Bagley
standard, then it necessarily found that the applicant met the false-testimony standard.

	For the aggravated sexual assault of L.S., cause # 1030953-A, the possible sentence ranged
from 5 to 99 years, or life, and the applicant received 28 years. For the sexual assault of J.R., cause
# 1030954-A, the possible sentence ranged from 2 to 20 years, and the applicant received 20 years. 

	The main evidence the State presented at the punishment phase came from the girls' fathers, (29)
who described how the girls reacted to the applicant's assault. The misleading testimony in this case
amplified the impact that the applicant's actions had on L.S. We accept the convicting court's
finding that there is a reasonable likelihood that the false testimony resulted in a harsher punishment
in cause 1030953-A.

	The false testimony did not directly bear on the sexual assault of J.R., but that does not end
our analysis of whether the false testimony affected the applicant's sentence in her case (cause
1030954-A). First, we note that J.R.'s behavior did not change so markedly as L.S.'s. J.R. began
sleeping on the floor at the foot of her parents' bed, was the victim of taunting at school, and
performed uncharacteristically poorly at school. She underwent two years of therapy. In her guilt-phase testimony, J.R. said that she had gone to group-therapy sessions once per week for two years
after the applicant's assault. She also described thinking of suicide in the days after the applicant's
assault. We also note, as the State did in its guilt-phase jury argument, that J.R. played no role in
soliciting sex with the applicant and seems to have gone with the applicant to keep L.S. company.

	The applicant received the maximum sentence for J.R.'s case, which was still less than the
sentence he received for cause L.S.'s case. Had it been otherwise (e.g., had the applicant not received
the maximum for J.R.'s case, or had the punishment for J.R.'s case exceeded that for L.S.'s case),
then we might accept an argument that the false testimony regarding L.S.'s treatment  did not affect
the sentence the applicant received for J.R.'s case. In this circumstance, however, we cannot.

	In its punishment-phase jury argument, the State made no mention of what the punishment
should be in  cause 1030954-A. Instead, the State referred to William's testimony that 25 years was
an appropriate punishment for the aggravated sexual assault of L.S. The State then argued that 25
years was insufficient to protect society, and that the jury should "look in the thirty to forty-year
range when determining the punishment in this case." All of these numbers exceeded the maximum
possible punishment for cause 1030954-A. At the habeas hearing, the applicant argued that the jury
assessed 28 years for cause 1030953-A and used that as a baseline from which to assess 20 years for
cause 1030954-A.

	There is evidence in the record to support the convicting court's conclusion that there is a
reasonable likelihood that the false testimony that affected the applicant's sentence in cause
1030953-A also affected the applicant's sentence in cause 1030954-A. 

D. Harmless Error

	To obtain relief on habeas review, in addition to showing that a due-process violation
occurred, an applicant may be required to show that the due-process violation was not harmless. (30)
In two types of situations, this Court has applied a harmless-error standard to habeas claims alleging
the use of false testimony.

1. Ex parte Fierro

	The applicant in Ex parte Fierro complained that the State knowingly used false testimony
at a pre-trial suppression hearing. Mexican police had held Fierro's parents in custody while the El
Paso police interrogated Fierro. The police officer to whom Fierro confessed testified at a pre-trial
suppression hearing that he did not know of the actions taken by the Mexican police. Evidence
showing that the officer's testimony was false was available to Fierro at the suppression hearing, but
he seems to have made no use of it until his habeas application. (31)

	We determined that the State's knowing use of false testimony violated due process, but was
subject to harmless-error analysis. (32) Not only did the applicant have to meet the "reasonable
likelihood" materiality standard to show that the false testimony violated due process, he also had
"to prove by a preponderance of the evidence that the [violation] contributed to his conviction or
punishment." (33) We limited this holding, however, to situations where the applicant could have raised
the issue on direct appeal. We "express[ed] no opinion" whether the preponderance-of-the-evidence
standard would apply if an applicant could "demonstrate that he had no opportunity to raise the issue
on direct appeal." (34)

2. Ex parte Chabot

	The applicant in Ex parte Chabot complained that the State had unknowingly used false
testimony at his trial. (35) An accomplice witness, Pabst, testified that Chabot raped and killed a woman
while he, Pabst, was in a different room. Pabst specifically denied sexually assaulting the victim.
Twenty years after the trial, new tests revealed Pabst's DNA on samples taken from the victim's
vagina, proving that Pabst's testimony was false. Neither the State nor the applicant knew at the time
of Chabot's direct appeal that Pabst's testimony was false.

	We determined that the State's unknowing use of false testimony was subject to the same
preponderance-of-the-evidence standard we applied in Fierro. (36) Chabot did not address the question
left open in Fierro, of whether the preponderance-of-the-evidence standard should apply to the
State's knowing use of false testimony when the applicant could not have raised the issue on direct
appeal. (37)

3. State's Knowing Use of False Testimony Unknown to the Applicant

	Here we are faced with a situation left unaddressed by Fierro and Chabot. The State used
Michelle's and William's testimony, which created the false impression that L.S.'s psychological
treatment was solely attributable to the applicant's assault. Yet the State was aware of evidence that
intervening events may have caused Michelle and William to seek treatment for L.S. The applicant
did not have access to this information at trial, and learned of the July police report only when his
habeas attorney gained access to it through a Public Information Act request.

	When the State knowingly uses false testimony, the determinative factor in whether the
defendant can raise the issue on direct appeal is, frequently, how well the State hides its information.
In Fierro, for example, the State turned over to the applicant, at the pre-trial suppression hearing,
a police report showing that testimony at the suppression hearing was false. Fierro failed to raise this
matter at trial, in a motion for new trial, or on direct appeal. When the claim came to us on habeas
review,  Fierro had already had the opportunity to present the claim in circumstances where it would
not have been subject to the preponderance-of-the-evidence standard, but only to the reasonable-likelihood standard of materiality. 

	In contrast, the applicant in this case had no opportunity to present his claim on direct appeal,
in large part because the State concealed information suggesting that the testimony was misleading.
Under the Harris County District Attorney's open-file policy applicable at the time of the applicant's
trial, defense counsel was free to examine most documents in the prosecutor's file, but not
documents in "Work Product" folders. The lead prosecutor knew of the July police report, knew that
it was in a "Work Product" folder, and intended that the applicant not have access to it because the
prosecutor did not consider it relevant to the case.

	When a habeas applicant has shown that the State knowingly used false, material testimony,
and the applicant was unable to raise this claim at trial or on appeal, we will grant relief from the
judgment that was obtained by that use.  

	We grant relief from the judgments as to the punishments in these cases. The convicting court
may hold a new punishment hearing in both causes.


Delivered March 9, 2011.

Publish.
1.  At the time of the offense, J.R. had recently turned 14, but L.S. was a few weeks shy of her 14th birthday.
(See Penal Code § 22.021(a)(2)(B) (victim under age 14 as one element of aggravated sexual assault)).
2.  Ghahremani v. State, 14-06-00729-CR et seq. (Tex. App. --  Houston [14th Dist.] Oct. 30, 2007, pets.
ref'd) (mem. op. not designated for publication).
3.  See generally Gov't Code Ch. 552.
4.  According to the report, it was L.S. who called the police. L.S. told the officer that "her parents had struck
her" on the face. The officer observed no marks on her face. Michelle and William told the officer that there had
been no violence, but that "the trio were in each others face [sic] arguing about a highly emotional topic, and arms
and hands were waving on both sides." The officer contacted a prosecutor regarding the alleged assault, and the
prosecutor "declined any charges due to normal parental discipline under the specific situation." 
5.  See Brady v. Maryland, 373 U.S. 83, 87 (1963) (due process is violated when the State refuses to disclose
requested evidence that is favorable to the defendant regarding either punishment or guilt); United States v. Bagley,
473 U.S. 667, 681-82 (1985) (due process requires reversal if the State, regardless of whether the defense made a
request, failed to disclose relevant, mitigating evidence to the defendant).
6.  The docket sheet contained in the record seems to state that this hearing occurred on August 13, 2009. At
a later hearing, an attorney refers to this hearing having occurred on September 30, 2009. We will use the date on the
reporter's record of the hearing, which is October 1, 2009.
7.  See, e.g., Ex parte Chabot, 300 S.W.3d 768 (Tex. Cr. App. 2009) (due process was violated when the
State unknowingly presented perjured testimony); United States v. Agurs, 427 U.S. 97 (1976) (due process was
violated when the State withheld favorable evidence; no testimony conflicted with the withheld evidence).
8.  See also 42 George E. Dix &amp; Robert O. Dawson, Texas Practice: Criminal Practice and Procedure
§&nbsp;22.51 (2d ed. 2002) ("If a defendant is able to establish both that the State knowingly used perjured testimony and
that it failed to disclose evidence showing the falsity of that testimony, the defendant is entitled to relief if he or she
can show the testimony used is material under the perjured testimony line of decisions and its more relaxed
materiality standard.").
9.  Mooney v. Holohan, 294 U.S. 103, 112-13 (1935); Napue v. Illinois, 360 U.S. 264, 269 (1959). 
10.  See Estrada v. State, 313 S.W.3d 274, 287-88 (Tex. Cr. App. 2010) (ordering new punishment hearing
because of false punishment-phase testimony).
11.  Id. at 288 (citing Napue, 360 U.S. at 269).
12.  Duggan v. State, 778 S.W.2d 465, 468-69 (Tex. Cr. App. 1989).
13.  See, e.g., United States. v. Boyd, 55 F.3d 239, 243 (7th Cir. 1995) (Posner, J.) ("The wrong of knowing
use by prosecutors of perjured testimony does not require a determination that the witness could have been
successfully prosecuted [for perjury]. Successful prosecution would require proof beyond a reasonable doubt not
only that the witness's testimony had been false but also that it had been knowingly false (and hence perjury). The
wrong of knowing use by prosecutors of perjured testimony is different, and misnamed - it is knowing use of false
testimony. It is enough that the jury was likely to understand the witness to have said something that was, as the
prosecution knew, false.  [This] is implicit in the frequent use of 'false' as a synonym for 'perjured' in cases in
which prosecutors are claimed to have knowingly used perjured testimony. E.g., United States v. Agurs, 427 U.S. 97,
103 (1976) ."). 
14.  Dix &amp; Dawson, supra n.8, at § 22.53; see Alcorta v. Texas, 355 U.S. 28, 31 (1957) (due process was
violated where witness gave the jury a "false impression" by testifying that he did not "love" the victim and had not
been on any "dates" with the victim, but omitted the fact that he had had sexual intercourse with the victim on several
recent occasions); Burkhalter v. State, 493 S.W.2d 214, 218 (Tex. Cr. App. 1973) (due process was violated where
witness's statement was not technically false, but "conveyed an impression to the jury which the State knew to be
false"; the State had agreed with witness's lawyer not to prosecute witness if witness testified, but witness did not
know of this agreement and thus was not committing perjury when he testified he had no agreement with the State). 
15.  See Penal Code §§ 37.02-.03. 
16.  See Napue, 360 U.S. 269; United States v. Bagley, 473 U.S. 667, 678 (1985) (plurality op.); United
States v. Webster, 392 F.3d 787, 801 (5th Cir. 2004).
17.  Ex parte Chabot, 300 S.W.3d 768, 770-71 (Tex. Cr. App. 2009).
18.  Agurs, 427 U.S. at 103.
19.  Dix &amp; Dawson, supra n. 8, at § 22.55; see, e.g., Ex parte Fierro, 934 S.W.2d 370, 373 (Tex. Cr. App.
1996) (referring to materiality test).
20.  Fierro, 934 S.W.2d at 373; 
21.  Bagley, 473 U.S. at 680, n.9.
22.  Ex parte Reed, 271 S.W.3d 698, 727 (Tex. Cr. App. 2008). 
23.  Id.; Chabot, 300 S.W.3d at 772. 
24.  On cross-examination, the applicant showed Michelle an internet-messaging transcript from January 12,
2004, in which L.S. stated that she showered twice daily "like a ritual."
25.  See De la Paz v. State, 273 S.W.3d 671, 678 (Tex. Cr. App. 2008); West v. State, 121 S.W.3d 95 (Tex.
App.-Fort Worth 2003, pet. ref'd). 
26.  The July police report dealt with a series of unprosecuted sexual assaults of a victim in this sexual assault
case, and the physical copy of the July police report contained in the "Work Product" folder listed the August police
reports as "Related Cases." Additionally, Cotlar and Smith both testified that they had contact with Michelle and
William after L.S. was sent away, and Cotlar said that he had continuing contact with the family through the trial.
William testified that he had discussed L.S.'s delicate psychological condition with Cotlar in an effort to persuade
Cotlar not to take this case to trial. 
27.  473 U.S., at 678.
28.  514 U.S., at 434.
29.  The only other punishment-phase witness was Dr. Lawrence Thompson, a psychologist who was the
director of therapy at the Children's Assessment Center. Prosecutor Cotlar repeatedly attempted to get Dr. Thompson
to give his opinion as to whether sex offenders could be rehabilitated. Each time Defense Counsel Parras objected,
and the trial court sustained the objection. At one point, Dr. Thompson stated that one researcher believed that sex
offenders could not be rehabilitated, and the trial court instructed the jury to disregard the statement. At the appli-cant's habeas hearing, Parras testified that he made a motion for mistrial at one of the several off-the-record discus-sions that occurred while Dr. Thompson was on the stand, and that the motion was denied. Ultimately, the only
admitted testimony from Dr. Thompson was that there was some scientific literature discussing whether sex offen-ders could be rehabilitated (though Dr. Thompson did not state the conclusions reached in the literature), and that
Dr. Thompson did not believe that any of the ten sex offenders he had personally supervised had been rehabilitated.
30.  Fierro, 934 S.W.2d at 373-74.
31.  Id., at 371-4.
32.  Id., at 374-75.
33.  Id.
34.  Id., at 374, n.10.
35.  Chabot, 300 S.W.3d at 769-70.
36.  Id., at 770-71.
37.  Ex parte Napper, 322 S.W.3d 202, 242, 244 (Tex. Cr. App. 2010) (noting that Chabot did not address
that question, and explicitly "leav[ing] open that question").


